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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: April 17, 2019



________________________________________________________________


                               UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION AT CINCINNATI

   In re:                                               :       CASE NO 18-13425
                                                        :       Chapter 13
             Joshua V. Jones                            :
             Amanda Jones                               :       JUDGE Hopkins

                     Debtor(s)


            AGREED ORDER GRANTING APPLICATION OF CHAPTER 13 DEBTORS
                           TO EMPLOY PROFESSIONAL

             This matter is before the Court on the Application of Chapter 13 Debtor to Employ
   Professional (ECF No. 38) (“Application”).
             The Chapter 13 Trustee’s office having responded and no other parties having responded, the
   twenty-one day notice period having run and for good cause shown, the Application is granted. Brian
   Flick of DannLaw Firm is authorized to represent Debtor as his attorney for the purpose of legal
   representation in a class action claim and is authorized to be compensated pursuant to Federal Rule of
   Bankruptcy Procedure 2016.
             Debtor’s counsel will provide Trustee with status report regarding litigation every six months.


   IT IS SO ORDERED.

   AGREED BY:
Case 1:18-bk-13425      Doc 45   Filed 04/17/19 Entered 04/18/19 10:33:55   Desc Main
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   Copies to: Default List
